Case 9:20-cv-80624-RLR Document 1 Entered on FLSD Docket 04/10/2020 Page 1 of 37




  UNITED STATES DISTRICT COURT
  MIDDLE DISTRICT OF FLORIDA

   IN RE: ZANTAC (RANITIDINE)                          MDL NO. 2924
   PRODUCTS LIABILITY LITIGATION                       20-MD-2924

                                                       JUDGE ROBIN L. ROSENBERG
  LEWIS BAKER ,                                        MAGISTRATE JUDGE BRUCE E.
                                                       REINHART
                 Plaintiff,
         v.                                            COMPLAINT [& JURY DEMAND]

  BOEHRINGER INGELHEIM
  PHARMACEUTICALS, INC.;                               CIVIL ACTION NO. 9:20cv80624
  SANOFI US SERVICES INC.;
  CHATTEM, INC.;
  PFIZER INC.,
  GLAXOSMITHKLINE, LLC.,

                 Defendants.




  THIS DOCUMENT RELATED TO: Lewis Baker V. Boehringer Ingelheim Pharmaceuticals, Inc., et
  al.


                                         INTRODUCTION

         1.      N-Nitrosodimethylamine (“NDMA”) is a potent carcinogen. It used to be a
  chemical biproduct of making rocket fuel in the early 1900s but, today, its only use is to induce
  tumors in animals as part of laboratory experiments. Its only function is to cause cancer. It has no
  business being in a human body.
         2.      Zantac (chemically known as ranitidine), the popular antacid medication used by
  millions of people every day, leads to the production of staggering amounts of NDMA when it is
  digested by the human body. The U.S. Food and Drug Administration’s (“FDA”) allowable daily
  limit of NDMA is 92 ng (nanograms) and yet, in a single dose of Zantac, researchers are
  discovering over 3 million ng.


                                                   1
Case 9:20-cv-80624-RLR Document 1 Entered on FLSD Docket 04/10/2020 Page 2 of 37




         3.      These recent revelations by independent researchers have caused widespread
  recalls of Zantac both domestically and internationally, and the FDA is actively investigating the
  issue, with is preliminary results showing “unacceptable” levels of NDMA.
         4.      To be clear, this is not a contamination case—the levels of NDMA that researchers
  are seeing in Zantac is not the product of some manufacturing error. The high levels of NDMA
  observed in Zantac are a function of the ranitidine molecule and the way it breaks down in the
  human digestive system.
         5.      Plaintiff Lewis Baker     took Zantac from approximately June 1, 2007 until
  approximately April 2012, for over 4 years and, as a result, developed kidney cancer. His cancer
  was caused by NDMA exposure created by the ingestion of Zantac. This lawsuit seeks damages
  against the Defendants for causing his cancer.


                                             PARTIES
         6.      Plaintiff Lewis Baker (hereinafter “Plaintiff”), resides in Nappanee, Indiana.
         7.      Defendant Boehringer Ingelheim Pharmaceuticals, Inc. (“BI”) is a Delaware
  corporation with its principal place of business located at 900 Ridgebury Road, Ridgefield,
  Connecticut 06877. BI is a subsidiary of the German company Boehringer Ingelheim Corporation.
  BI owned the U.S. rights to over-the-counter (“OTC”) Zantac between December 2006 and
  January 2017, and manufactured and distributed the drug in the United States during that period.

          8.     Defendant Sanofi US Services Inc., (“Sanofi”) is a Delaware corporation with its
  principal place of business located at 55 Corporate Drive, Bridgewater, New Jersey 08807, and is
  a wholly owned subsidiary of Sanofi S.A. Sanofi controlled the New Drug Application (“NDA”)
  for OTC Zantac starting in January 2017 through the present.

          9.     Defendant Chattem, Inc. (“Chattem”) is a Tennessee corporation with its principal
  place of business located at 1715 West 38th Street Chattanooga, Tennessee 37409. Chattem is a
  wholly owned subsidiary of Sanofi S.A., a French multinational corporation. Chattem distributes
  OTC Zantac for Sanofi.

         10.     Defendant Pfizer, Inc. (“Pfizer”) is a Delaware corporation with its principal place
  of business located at 235 East 42nd Street, New York, New York 10017. Pfizer was the original
  NDA holder for OTC Zantac, and controlled the NDA between August 2004 and December 2006.

                                                   2
Case 9:20-cv-80624-RLR Document 1 Entered on FLSD Docket 04/10/2020 Page 3 of 37




          11.     Defendant GlaxoSmithKline, LLC (“GSK”) is a Delaware corporation with its
  principal place of business located at 5 Crescent Drive, Philadelphia, Pennsylvania, 19112 and
  Five Moore Drive, Research Triangle, North Carolina, 27709. GSK was the original innovator of
  the Zantac drug and controlled the NDA for prescription Zantac between 1983 and 2009. By
  controlling the Zantac NDA it also directly controlled the labeling for all Zantac products through
  2009. And, GSK’s negligence and misconduct related to Zantac as an innovator directly led to the
  failure to warn for other OTC versions of Zantac.

                                     JURISDICTION AND VENUE

          12.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332. There is
  complete diversity of citizenship between the parties. In addition, Plaintiff seeks damages in excess
  of $75,000, exclusive of interest and costs.

          13.     This Court has personal jurisdiction over each Defendant insofar as each
  Defendants is authorized and licensed to conduct business in the State of Indiana maintains and
  carries on systematic and continuous contacts in this judicial district, regularly transacts business
  within this judicial district, and regularly avails itself of the benefits of this judicial district.

          14.      Additionally, the Defendants caused tortious injury by acts and omissions in this
  judicial district and caused tortious injury in this district by acts and omissions outside this district
  while regularly doing and soliciting business, engaging in a persistent course of conduct, and
  deriving substantial revenue from goods used or consumed and services rendered in this judicial
  district.

          15. Venue is proper before this Court pursuant to Pretrial Order No.11 allowing direct
  filing of Plaintiff’s complaint in MDL 2924. However, the District Court in which venue would
  be proper absent the direct filing Order entered by this Court and to where remand could be
  ordered by the Court for trial would be in: Indiana Northern District Court.


                                      FACTUAL ALLEGATIONS


          I. Brief History of Zantac and Ranitidine
          16.     Zantac was developed by GlaxoSmithKline (“GSK”) and approved for prescription


                                                       3
Case 9:20-cv-80624-RLR Document 1 Entered on FLSD Docket 04/10/2020 Page 4 of 37




  use by the FDA in 1983. The drug belongs to a class of medications called histamine H2-receptor
  antagonists (or H2 blockers), which decrease the amount of acid produced by the stomach and are
  used to treat gastric ulcers, heartburn, acid indigestion, sour stomach, and other gastrointestinal
  conditions.
          17.      Due in large part to GSK’s marketing strategy, Zantac was a wildly successful drug,
  reaching $1 billion in total sales in December 1986. As one 1996 article put it, Zantac became “the
  best-selling drug in history as a result of a shrewd, multifaceted marketing strategy that . . .enabled
  the product to dominate the acid/peptic marketplace.”1 Significantly, the marketing strategy that
  led to Zantac’s success emphasized the purported safety of the drug.
          18.      Zantac became available without a prescription in 1996, and generic versions of the
  drug (ranitidine) became available the following year. Although sales of brand-name Zantac
  declined as a result of generic and alternative products, Zantac sales have remained strong over
  time. As recently as 2018, Zantac was one of the top 10 antacid tablet brands in the United States,
  with sales of Zantac 150 totaling $128.9 million—a 3.1% increase from the previous year.
          19.      On September 13, 2019, in response to a citizen’s petition filed by Valisure, Inc.
  (discussed in detail below), U.S. and European regulators stated that they are reviewing the safety
  of ranitidine.
          20.      On September 18, 2019, Novartis AG’s Sandoz Unit, which makes generic drugs,
  stated that it was halting the distribution of its versions of Zantac in all markets, while Canada
  requested drug makers selling ranitidine to stop distribution.
          21.      On September 28, 2019, CVS Health Corp. stated that it would stop selling Zantac
  and its own generic ranitidine products out of concern that it might contain a carcinogen. CVS has
  been followed by Walmart, Inc., Walgreens Boot Alliance, and Rite Aid Corp. to also remove
  Zantac and ranitidine products.
          22.      On October 2, 2019, the FDA stated that it was ordering all manufacturers of Zantac
  and ranitidine products to conduct testing for NDMA and that preliminary results indicated
  unacceptable levels of NDMA so far.
          23.      At no time did any Defendant attempt to include a warning about NDMA or any



  1
   Wright, R., How Zantac Became the Best-Selling Drug in History, 1 J. HEALTHCARE MARKETING
  4, 24 (Winter 1996).
                                                    4
Case 9:20-cv-80624-RLR Document 1 Entered on FLSD Docket 04/10/2020 Page 5 of 37




  cancer, nor did the FDA ever reject such a warning. Defendants had the ability to unilaterally add
  an NDMA and/or cancer warning to the Zantac label (for both prescription and OTC) without prior
  FDA approval pursuant to the Changes Being Effected regulation. Had any Defendant attempted
  to add an NDMA warning to the Zantac label (either for prescription or OTC), the FDA would not
  have rejected it.


          II. Dangers of NDMA
          24.     NDMA is a semi-volatile organic chemical that forms in both industrial and natural
  processes. It is a member of N-nitrosamines, a family of potent carcinogens. The dangers that
  NDMA poses to human health have long been recognized. A news article published in 1979 noted
  that “NDMA has caused cancer in nearly every laboratory animal tested so far.”2 NDMA is no
  longer produced or commercially used in the United States, except for research, such as a tumor
  initiator in certain animal bioassays. In other words, it is only a poison.
          25.     Both the Environmental Protection Agency (“EPA”) and the International Agency
  for Research on Cancer (“IARC”) have classified NDMA as a probable human carcinogen. And
  the World Health Organization (“WHO”) has stated that scientific testing indicates that NDMA
  consumption is positively associated with either gastric or colorectal cancer and suggests that
  humans may be especially sensitive to the carcinogenicity of NDMA.

          26.     As early as 1980, consumer products containing unsafe levels of NDMA and other
  nitrosamines have been recalled by manufacturers, either voluntarily or at the direction of the FDA.
          27.     Most recently, beginning in the summer of 2018, there have been recalls of several
  generic drugs used to treat high blood pressure and heart failure—valsartan, losartan, and




  2
    Jane Brody, Bottoms Up: Alcohol in moderation can extend life, THE GLOBE AND MAIL
  (CANADA) (Oct. 11, 1979); see Rudy Platiel, Anger grows as officials unable to trace poison in
  reserve’s water, THE GLOBE AND MAIL CANADA) (Jan. 6, 1990) (reporting that residents of Six
  Nations IndianReserve “have been advised not to drink, cook or wash in the water because
  testing has found high levels of N-nitrosodimethylamine (NDMA), an industrial byproduct
  chemical that has been linked to cancer”); Kyrtopoulos et al, DNA adducts in humans after
  exposure to methylating agents, 405 MUTAT. RESEAR. 135 (1998) (noting that “chronic exposure
  of rats to very low doses of NDMA gives rise predominantly to liver tumours, including tumors of
  the liver cells (hepatocellular carcinomas), bile ducts, blood vessels and Kupffer cells”).
                                                    5
Case 9:20-cv-80624-RLR Document 1 Entered on FLSD Docket 04/10/2020 Page 6 of 37




  irbesartan—because the medications contained nitrosamine impurities that do not meet the FDA’s
  safety standards. The FDA has established a permissible daily intake limit for the probable human
  carcinogen, NDMA, of 96 ng (nanogram). However, the highest level of NDMA detected by the
  FDA in any of the Valsartan tablets was 20.19 μg (or 20,190 ng) per tablet. In the case of Valsartan,
  the NDMA was an impurity caused by a manufacturing defect, and thus NDMA was present in
  only some products containing valsartan. Zantac poses a greater safety risk than any of the recently
  recalled valsartan tablets. Not only is NDMA a byproduct of the ranitidine molecule, itself, but the
  levels observed in recent testing show NDMA levels in excess of 3,000,000 ng.
         28.     Tobacco smoke also contains NDMA. One filtered cigarette contains between 5 –
  43ng of NDMA.
         29.     In mouse studies examining the carcinogenicity of NDMA through oral
  administration, animals exposed to NDMA developed cancer in the kidney, bladder, liver, and
  lung. In comparable rat studies, similar cancers were observed in the liver, kidney, pancreas, and
  lung. In comparable hamster studies, similar cancers were observed in the liver, pancreas, and
  stomach. In comparable Guinea-pig studies, similar cancers were observed in the liver and lung.
  In comparable rabbit studies, similar cancers were observed in the liver and lung.
         30.     In other long-term animal studies in mice and rats utilizing different routes of
  exposures—inhalation, subcutaneous injection, and intraperitoneal (abdomen injection)—cancer
  was observed in the lung, liver, kidney, nasal cavity, and stomach.
         31.     Alarmingly, Zantac is in the FDA’s category B for birth defects, meaning it is
  considered safe to take during pregnancy. However, in animal experiments, for those animals
  exposed to NDMA during pregnancy, the offspring had elevated rates of cancer in the liver and
  kidneys.

         32.     In addition, NDMA breaks down into various derivative molecules that,
  themselves, are associated with causing cancer. In animal studies, derivatives of NDMA induced
  cancer in the stomach and intestine (including colon).

         33.     Research shows that lower levels of NDMA, i.e., 40 ng, are fully metabolized in
  the liver, but high does enter the body’s general circulation.
         34.     Numerous in vitro studies confirm that NDMA is a mutagen—causing mutations
  in human and animal cells.


                                                    6
Case 9:20-cv-80624-RLR Document 1 Entered on FLSD Docket 04/10/2020 Page 7 of 37




         35.     Overall the animal data demonstrates that NDMA is carcinogenic in all animal
  species tested: mice, rats, Syrian golden, Chinese and European hamsters, guinea-pigs, rabbits,
  ducks, mastomys, fish, newts, and frogs.
         36.     Pursuant to the EPA” cancer guidelines, “tumors observed in animals are generally
  assumed to indicate that an agent may produce tumors in humans.”
         37.      In addition to the overwhelming animal data linking NDMA to cancer, there are
  numerous human epidemiological studies exploring the effects of dietary exposure to various
  cancers. And, while these studies (several discussed below) consistently show increased risks of
  various cancers, the exposure levels considered in these studies are a very small fraction—as little
  as 1 millionth—the exposures noted in a single Zantac capsule, i.e., 0.191 ng/day (dietary) v.
  304,500ng/day (Zantac).
         38.     In a 1995 epidemiological case-control study looking at NDMA dietary exposure
  with 220 cases, researchers observed a statistically significant 700% increased risk of gastric
  cancer in persons exposed to more than 0.51 ng/day.3
         39.     In a 1995 epidemiological case-control study looking at NDMA dietary exposure
  with 746 cases, researchers observed statistically significant elevated rates of gastric cancer in
  Persons exposed to more than 0.191 ng/day.4

         40.     In another 1995 epidemiological case-control study looking at, in part, the effects
  of dietary consumption on cancer, researchers observed a statistically significant elevated risk
  ofdeveloping aerodigestive cancer after being exposed to NDMA at .179 ng/day.5

         41.     In a 1999 epidemiological cohort study looking at NDMA dietary exposure with

  189 cases and a follow up of 24 years, researchers noted that “N-nitroso compounds are potent

  carcinogens” and that dietary exposure to NDMA more than doubled the risk of developing




  3
    Pobel et al, Nitrosamine, nitrate and nitrite in relation to gastric cancer: a case-control study in
  Marseille, France, 11 EUROP. J. EPIDEMIOL. 67–73 (1995).
  4
    La Vecchia et al, Nitrosamine intake and gastric cancer risk, 4 EUROP. J. CANCER. PREV. 469-
  474 (1995).
  5
    Rogers et al, Consumption of nitrate, nitrite, and nitrosodimethylamine and the risk of upper
  aerodigestive tract cancer, 5 CANCER EPIDEMIOL. BIOMARKERS PREV. 29–36 (1995).
                                                    7
Case 9:20-cv-80624-RLR Document 1 Entered on FLSD Docket 04/10/2020 Page 8 of 37




  colorectal cancer.6

         42.     In a 2000 epidemiological cohort study looking at occupational exposure of

  workers in the rubber industry, researchers observed significant increased risks for NDMA

  exposure for esophagus, oral cavity, pharynx, prostate, and brain cancer.7

         43.     In a 2011 epidemiological cohort study looking at NDMA dietary exposure with

  3,268 cases and a follow up of 11.4 years, researchers concluded that “[d]ietary NDMA

  intake was significantly associated with increased cancer risk in men and women” for all

  cancers, and that “NDMA was associated with increased risk of gastrointestinal cancers”

  including rectal cancers.8



                        Figure 1 –Ranitidine Structure & Formation of NDMA




  6
    Knekt et al, Risk of Colorectal and Other Gastro-Intestinal Cancers after Exposure to Nitrate,
  Nitrite and N-nitroso Compounds: A Follow-Up Study, 80 INT. J. CANCER 852–856 (1999)
  7
    Straif et al, Exposure to high concentrations of nitrosamines and cancer mortality among a
  cohort of rubber workers, 57 OCCUP ENVIRON MED 180–187 (2000).
  8
    Loh et al, N-nitroso compounds and cancer incidence: the European Prospective Investigation
  into Cancer and Nutrition (EPIC)–Norfolk Study, 93 AM J CLIN NUTR. 1053–61 (2011).
                                                  8
Case 9:20-cv-80624-RLR Document 1 Entered on FLSD Docket 04/10/2020 Page 9 of 37




          44.        In a 2014 epidemiological case-control study looking at NDMA dietary exposure
  with 2,481 cases, researchers found a statistically significant elevated association between NDMA

  exposure and colorectal cancer.9

          III. How Ranitidine Transforms into NDMA Within the Body

          45.        The high levels of NDMA produced by Zantac are not caused by a manufacturing

  defect but are inherent to the molecular structure of ranitidine, the active ingredient in Zantac. The

  ranitidine molecule contains both a nitrite and a dimethylamine (‘DMA’) group which are well

  known to combine to form NDMA. See Fig. 1. Thus, ranitidine produces NDMA by “react[ing]

  with itself”, which means that every dosage and form of ranitidine, including Zantac, exposes users

  to NDMA.

          46.        The formation of NDMA by the reaction of DMA and a nitroso source (such as a

  nitrite) is well characterized in the scientific literature and has been identified as a concern for

  contamination of the American water supply.10 Indeed, in 2003, alarming levels of NDMA in

  drinking water processed by wastewater treatment plants was specifically linked to the presence
  of ranitidine.11




  9
    Zhu et al, Dietary N-nitroso compounds and risk of colorectal cancer: a case-control study in
  Newfoundland and Labrador and Ontario, Canada, 111 BR J NUTR. 6, 1109–1117 (2014).
  10
     Ogawa et al, Purification and properties of a new enzyme, NG, NG-dimethylarginine
  dimethylaminohydrolase, from rat kidney, 264 J. BIO. CHEM. 17, 10205-10209 (1989).
  11
     Mitch et al, N-Nitrosodimethylamine (NDMA) as a Drinking Water Contaminant: A Review,
  20 ENV. ENG. SCI. 5, 389-404 (2003).
                                                     9
Case 9:20-cv-80624-RLR Document 1 Entered on FLSD Docket 04/10/2020 Page 10 of 37




                 Figure 2 –Mechanism for Decomposition of Ranitidine in NDMA




           47.   The high instability of the ranitidine molecule was further elucidated in scientific

  studies investigating ranitidine as a source of NDMA in drinking water and specific mechanisms
  for the breakdown of ranitidine were proposed, as shown in Figure 2 above.12 These studies
  underscore the instability of the NDMA group on the ranitidine molecule and its ability to form
  NDMA in the environment of water treatment plants which supply many American cities with
  water.

           48.   These studies did not appreciate the full extent of NDMA formation risk from
  ranitidine; specifically, the added danger of this drug having not only a labile DMA group but also
  a readily available nitroso source in its nitrite group on the opposite terminus of the molecule.
  Recent testing of NDMA levels in ranitidine batches are so high that the nitroso for NDMA likely
  comes from no other source than the ranitidine molecule itself.

           49.   Valisure, LLC is an online pharmacy that also runs an analytical laboratory that is
  ISO 17025 accredited by the International Organization for Standardization (“ISO”) – an
  accreditation recognizing the laboratories technical competence for regulatory. Valisure’s mission
  is to help ensure the safety, quality, and consistency of medications and supplements in the market.
  In response to rising concerns about counterfeit medications, generics, and overseas
  manufacturing, Valisure developed proprietary analytical technologies that it uses in addition to
  FDA standard assays to test every batch of every medication it dispenses.


  12
    Le Roux et al, NDMA Formation by Chloramination of Ranitidine: Kinetics and Mechanism,
  46 Environ. Sci. Technol. 20, 11095-11103 (2012).
                                                  10
Case 9:20-cv-80624-RLR Document 1 Entered on FLSD Docket 04/10/2020 Page 11 of 37




         50.    As part of its testing of Zantac, and other ranitidine products, in every lot tested,
  Valisure discovered exceedingly high levels of NDMA. Valisure’s ISO 17025 accredited
  laboratory used FDA recommended GC/MS headspace analysis method FY19-005-DPA8 for the
  determination of NDMA levels. As per the FDA protocol, this method was validated to a lower
  limit of detection of 25 ng.13 The results of Valisure’s testing show levels of NDMA well above 2
  million ng per 150 mg Zantac tablet, shown below in Table 1.




         51.    Valisure’s testing shows, on average, 2,692,291 ng of NDMA in a 150 mg Zantac
  tablet. Considering the FDA’s permissible limit is 96 ng, this would put the level of NDMA at
  28,000 times the legal limit. In terms of smoking, a person would need to smoke at least 6,200
  cigarettes to achieve the same levels of NDMA found in one 150 mg dose of Zantac.
         52.    Valisure, however, was concerned that the extremely high levels of NDMA
  observed in its testing were a product of the modest oven heating parameter of 130 °C in the FDA
  recommended GC/MS protocol. So, Valisure developed a low temperature GC/MS method that

  13
    US Food and Drug Administration. (updated 01/25/2019). Combined N-Nitrosodimethlyamine
  (NDMA) and N-Nitrosodiethylamine (NDEA) Impurity Assay, FY19-005-DPA-S.
                                                 11
Case 9:20-cv-80624-RLR Document 1 Entered on FLSD Docket 04/10/2020 Page 12 of 37




  could still detect NDMA but would only subject samples to 37 °C, the average temperature of the
  human body. This method was validated to a lower limit of detection of 100 ng.
          53.     Valisure tested ranitidine tablets by themselves and in conditions simulating the
  human stomach. Industry standard “Simulated Gastric Fluid” (“SGF” 50 mM potassium chloride,
  85 mM hydrochloric acid adjusted to pH 1.2 with 1.25 g pepsin per liter) and “Simulated Intestinal
  Fluid” (“SIF” 50 mM potassium chloride, 50 mM potassium phosphate monobasic adjusted to pH
  6.8 with hydrochloric acid and sodium hydroxide) were used alone and in combination with
  various concentrations of nitrite, which is commonly ingested in foods like processed meats and
  is elevated in the stomach by antacid drugs.
          54.     Indeed, Zantac was specifically advertised to be used when consuming foods
  containing high levels of nitrates, like tacos, pizza, etc.14
          55.     The results of Valisure’s tests on ranitidine tablets in biologically relevant
  conditions demonstrate significant NDMA formation under simulated gastric conditions with
  nitrite present (see Table 2).




          56.     Under biologically relevant conditions, when nitrites are present, staggeringly high
  levels of NDMA are found in one dose of 150 mg Zantac, ranging between 245 and 3,100 times
  above the FDA-allowable limit. In terms of smoking, one would need to smoke over 500 cigarettes




  14
    See, e.g., https://www.ispot.tv/ad/dY7n/zantac-family-taco-night;
  https://youtu.be/jzS2kuB5_wg;https://youtu.be/Z3QMwkSUlEg; https://youtu.be/qvh9gyWqQns.

                                                     12
Case 9:20-cv-80624-RLR Document 1 Entered on FLSD Docket 04/10/2020 Page 13 of 37




  to achieve the same levels of NDMA found in one dose of 150 mg Zantac at the 25 ng level (over
  7,000 for the 50 μg level).
         57.     Antacid drugs are known to increase stomach pH and thereby increase the growth
  of nitrite-reducing bacteria which further elevate levels of nitrite. This fact is well known and even
  present in the warning labels of antacids like Prevacid (lansoprazole) and was specifically studied
  with ranitidine in the original approval of the drug. Thus, higher levels of nitrites in patients
  regularly taking Zantac would be expected.
         58.     In fact, NDMA formation in the stomach has been a concern for many years and
  specifically ranitidine has been implicated as a cause of NDMA formation by multiple research
  groups, including those at Stanford University.
         59.     Existing research shows that ranitidine interacts with nitrites and acids in the
  chemical environment of the human stomach to form NDMA. In vitro tests demonstrate that when
  ranitidine undergoes “nitrosation” (the process of a compound being converted into nitroso
  derivatives) by interacting with gastric fluids in the human stomach, the by-product created is
  dimethylamine (“DMA”) – which is an amine present in ranitidine itself. When DMA is released,
  it can be nitrosated even further to form NDMA, a secondary N-nitrosamine.
         60.     Moreover, in addition to the gastric fluid mechanisms investigated in the scientific

  literature, Valisure identified a possible enzymatic mechanism for the liberation of ranitidine’s
  DMA group via the human enzyme dimethylarginine dimethylaminohydrolase (“DDAH”) which
  can occur in other tissues and organs separate from the stomach.
         61.     Liberated DMA can lead to the formation of NDMA when exposed to nitrite present
  on the ranitidine molecule, nitrite freely circulating in the body, or other potential pathways,
  particularly in weak acidic conditions such as that in the kidney or bladder. The original scientific
  paper detailing the discovery of the DDAH enzyme in 1989 specifically comments on the
  propensity of DMA to form NDMA: “This report also provides a useful knowledge for an
  understanding of the endogenous source of dimethylamine as a precursor of a potent carcinogen,
  dimethylnitrosamine [NDMA].”15




  15
    Ogawa et al, Purification and properties of a new enzyme, NG, NG-dimethylarginine
  dimethylaminohydrolase, from rat kidney, 264 J. BIO. CHEM. 17, 10205-10209 (1989).
                                                    13
Case 9:20-cv-80624-RLR Document 1 Entered on FLSD Docket 04/10/2020 Page 14 of 37




         62.     In Figure 3, below, computational modelling demonstrates that ranitidine (shown
  in green) can readily bind to the DDAH-1 enzyme (shown as a cross-section in grey) in a manner
  similar to the natural substrate of DDAH-1 known as asymmetric dimethylarginine (“ADMA,”
  shown in blue).

        Figure 3 – Computational Modelling of Ranitidine Binding to DDAH-1 Enzyme




         63.     These results indicate that the enzyme DDAH-1 increases formation of NDMA in
  the human body when ranitidine is present; therefore, the expression of the DDAH-1 gene is useful
  for identifying organs most susceptible to this action.
         64.        Figure 4 below, derived from the National Center for Biotechnology Information,
  illustrates the expression of the DDAH-1 gene in various tissues in the human body.




                                                   14
Case 9:20-cv-80624-RLR Document 1 Entered on FLSD Docket 04/10/2020 Page 15 of 37




                    Figure 4 – Expression levels of DDAH-1 enzyme by Organ




         65.     DDAH-1 is most strongly expressed in the kidneys but also broadly distributed
  throughout the body, such as in the liver, prostate, stomach, bladder, brain, colon, and prostate.
  This offers both a general mechanism for NDMA formation in the human body from ranitidine
  and specifically raises concern for the effects of NDMA on the kidneys, specifically kidney cancer.
         66.     In addition to the aforementioned in vitro studies that suggest a strong connection
  between ranitidine and NDMA formation, in vivo clinical studies in living animals add further
  weight to concern over this action and overall potential carcinogenicity. A study published in the
  journal Carcinogenesis in 1983 titled “Genotoxic effects in rodents given high oral doses of
  ranitidine and sodium nitrite” specifically suspected the carcinogenic nature of ranitidine in
  combination with nitrite. The authors of this study concluded: “Our experimental findings have
  shown that simultaneous oral administration in rats of high doses of ranitidine and NaNO2 [nitrite]
  can produce DNA fragmentation either in liver or in gastric mucosa.”16


  16
    Brambilla et al., Genotoxic effects in rodents given high oral doses of ranitidine and sodium
  nitrite, 4 CARCINOGENESIS 10, 1281-1285 (1983).
                                                  15
Case 9:20-cv-80624-RLR Document 1 Entered on FLSD Docket 04/10/2020 Page 16 of 37




         67.     The human data, although limited at this point, is even more concerning. A
  studycompleted and published in 2016 by Stanford University observed that healthy individuals,
  both male and female, who ingested Zantac 150 mg tablets produced roughly 400 times elevated
  amounts of NDMA in their urine (over 47,000 ng) in the proceeding 24 hours after ingestion.17

         68.     Likely due to the perceived high safety profile of ranitidine, very few
  epidemiological studies have been conducted on this drug.
         69.     A 2004 study published by the National Cancer Institute investigated 414 cases of
  peptic ulcer disease reported in 1986 and followed the individual cases for 14 years.18 One of the
  variables investigated by the authors was the patients’ consumption of a prescription antacid, either
  Tagamet (cimetidine) or Zantac (ranitidine). The authors concluded that “[r]ecent use of ulcer
  treatment medication (Tagamet and Zantac) was also related to the risk of bladder cancer, and this
  association was independent of the elevated risk observed with gastric ulcers.” Specifically, the
  authors note that “N-Nitrosamines are known carcinogens, and nitrate ingestion has been related
  to bladder cancer risk.” NDMA is among the most common of the N-Nitrosamines.
         70.     A 1982 clinical study in rats compared ranitidine and cimetidine exposure in
  combination with nitrite. When investigating DNA fragmentation in the rats’ livers, no effect was
  observed for cimetidine administered with nitrite, but ranitidine administered with nitrite resulted
  in a significant DNA fragmentation.19
         71.     Investigators at Memorial Sloan Kettering Cancer Center are actively studying
  ranitidine to evaluate the extent of the public health implications of these findings. Regarding
  ranitidine, one of the investigators commented: “A potential link between NDMA and ranitidine
  is concerning, particularly considering the widespread use of this medication. Given the known
  carcinogenic potential of NDMA, this finding may have significant public health implications[.]”




  17
     Zeng et al, Oral intake of ranitidine increases urinary excretion of N-nitrosodimethylamine, 37
  CARCINOGENESIS 625-634 (2016).
  18
     Michaud et al, Peptic ulcer disease and the risk of bladder cancer in a prospective study of
  male health professionals, 13 CANCER EPIDEMIOL BIOMARKERS PREV. 2, 250-254 (2004).
  19
     Brambilla et al, Genotoxic Effects of Drugs: Experimental Findings Concerning Some
  Chemical Families of Therapeutic Relevance, Nicolini C. (eds) Chemical Carcinogenesis. NATO
  Advanced Study Institutes Series (Series A: Life Sciences), Vol 52. Springer, Boston, MA
  (1982).
                                                   16
Case 9:20-cv-80624-RLR Document 1 Entered on FLSD Docket 04/10/2020 Page 17 of 37




         IV. Defendants Knew of the NDMA Defect but Failed to Warn or Test
         72.     During the time that Defendants manufactured and sold Zantac in the United States,
  the weight of scientific evidence showed that Zantac exposed users to unsafe levels of NDMA.
  Defendants failed to disclose this risk to consumers on the drug’s label—or through any other
  means—and Defendants failed to report these risks to the FDA.
         73.     Going back as far as 1981, two years before Zantac entered the market, research
  showed elevated rates of NDMA, when properly tested. This was known or should have been
  known by Defendants.
         74.     Defendants concealed the Zantac–NDMA link from consumers in part by not
  reporting it to the FDA, which relies on drug manufacturers (or others, such as those who submit
  citizen petitions) to bring new information about an approved drug like Zantac to the agency’s
  attention.
         75.     Manufacturers of an approved drug are required by regulation to submit an annual
  report to the FDA containing, among other things, new information regarding the drug’s safety
  pursuant to 21 C.F.R. § 314.81(b)(2):
         The report is required to contain . . . [a] brief summary of significant new
         information from the previous year that might affect the safety, effectiveness, or
         labeling of the drug product. The report is also required to contain a brief
         description of actions the applicant has taken or intends to take as a result of this
         new information, for example, submit a labeling supplement, add a warning to the
         labeling, or initiate a new study.
         76.     “The manufacturer’s annual report also must contain copies of unpublished reports
  and summaries of published reports of new toxicological findings in animal studies and in vitro
  studies (e.g., mutagenicity) conducted by, or otherwise obtained by, the [manufacturer] concerning
  the ingredients in the drug product.” 21 C.F.R. § 314.81(b)(2)(v).
         77.     Defendants ignored these regulations and, disregarding the scientific evidence
  available to them, did not report to the FDA significant new information affecting the safety or
  labeling of Zantac.
         78.     Defendants never provided the relevant studies to the FDA, nor did they present to
  the FDA with a proposed disclosure noting the link between ranitidine and NDMA.



                                                  17
Case 9:20-cv-80624-RLR Document 1 Entered on FLSD Docket 04/10/2020 Page 18 of 37




         79.     In a 1981 study published by GSK, the originator of the ranitidine molecule, the
  metabolites of ranitidine in urine were studied using liquid chromatography.20 Many metabolites
  were listed, though there is no indication that NDMA was looked for. Plaintiffs believe this was
  intentional—a gambit by the manufacturer to avoid detecting a carcinogen in their product.
         80.     By 1987, after numerous studies raised concerns over ranitidine and cancerous
  nitroso compounds (discussed previously), GSK published a clinical study specifically
  investigating gastric contents in human patients and N-nitroso compounds.21 This study
  specifically indicated that there were no elevated levels of N-nitroso compounds (of which NDMA
  is one). However, the study was rigged to fail. It used an analytical system called a “nitrogen oxide
  assay” for the determination of Nnitrosamines, which was developed for analyzing food and is a
  detection method that indirectly and non-specifically measures N-nitrosamines. Furthermore, in
  addition to this approach being less accurate, GSK also removed all gastric samples that contained
  ranitidine out of concern that samples with ranitidine would contain “high concentrations of N-
  nitroso compounds being recorded.” So, without the chemical being present in any sample, any
  degradation into NDMA could not, by design, be observed. Again, this spurious test was
  intentional and designed to mask any potential cancer risk.
         81.     There are multiple alternatives to Zantac that do not pose the same risk, such as
  Cimetidine (Tagamet), Famotidine (Pepcid), Omeprazole (Prilosec), Esomeprazole (Nexium), and
  Lansoprazole (Prevacid).


  V. Plaintiff-Specific Allegations
         82.     Plaintiff began using over-the-counter brand name Zantac in approximately Jane 1,
  2007 and continued to use it through approximately April 2012. He took 150 mg per day.
         83.     In April 18, 2019, Plaintiff was diagnosed with kidney cancer.




  20
     Carey et al, Determination of ranitidine and its metabolites in human urine by reversed-phase
  ionpair high-performance liquid chromatography, 255 J. CHROMATOGRAPHY B: BIOMEDICAL
  SCI. & APPL. 1, 161-168 (1981).
  21
     Thomas et al, Effects of one year’s treatment with ranitidine and of truncal vagotomy on
  gastric contents, 6 GUT. Vol. 28, 726-738 (1987).
                                                   18
Case 9:20-cv-80624-RLR Document 1 Entered on FLSD Docket 04/10/2020 Page 19 of 37




          84.     Based on prevailing scientific evidence, exposure to Zantac (and the attendant
  NDMA) can cause kidney cancer.
          85.     Plaintiff’s kidney cancer was caused by ingestion of Zantac.
          86.     Had any Defendant warned Plaintiff that Zantac could lead to exposure to NDMA
  or, in turn, cancer, Plaintiff would not have taken Zantac.
          87.     Plaintiff did not learn of the link between his cancer and Zantac exposure until
  September 1, 2019, when he learned that Zantac contained high levels of NDMA.
          88.     After being diagnosed with cancer, Plaintiff investigated what could have caused
  his cancer, but to no avail until recently when he heard about the connection of Zantac to NDMA
  and cancer.


          VI. Exemplary / Punitive Damages Allegations
          89.     Defendants’ conduct as alleged herein was done with reckless disregard for human
  life, oppression, and malice. Defendants were fully aware of the safety risks of Zantac, particularly
  the carcinogenic potential of Zantac as it transforms into NDMA within the chemical environment
  of the human body. Nonetheless, Defendants deliberately crafted their label, marketing, and
  promotion to mislead consumers.
          90.     This was not done by accident or through some justifiable negligence. Rather,
  Defendants knew that it could turn a profit by convincing consumers that Zantac was harmless to
  humans, and that full disclosure of the true risks of Zantac would limit the amount of money
  Defendants would make selling Zantac. Defendants’ object was accomplished not only through its
  misleading label, but through a comprehensive scheme of selective misleading research and
  testing, false advertising, and deceptive omissions as more fully alleged throughout this pleading.
  Plaintiff was denied the right to make an informed decision about whether to purchase and use
  Zantac, knowing the full risks attendant to that use. Such conduct was done with conscious
  disregard of Plaintiff’s rights.
          91.     Accordingly, Plaintiff requests punitive damages against Defendants for the harms
  caused to Plaintiff.


                                                   19
Case 9:20-cv-80624-RLR Document 1 Entered on FLSD Docket 04/10/2020 Page 20 of 37




                 TOLLING OF STATUTE OF LIMITATIONS AND ESTOPPEL

           92.    Within the time period of any applicable statute of limitations, Plaintiff could not
  have discovered through the exercise of reasonable diligence that exposure to Zantac is injurious
  to human health.
           93.    Plaintiff did not discover and did not know of facts that would cause a reasonable
  person to suspect the risk associated with the use of Zantac, nor would a reasonable and diligent
  investigation by Plaintiff have disclosed that Zantac would cause Plaintiff’s illnesses.
           94.    The expiration of any applicable statute of limitations has been equitably tolled by
  reason    of   Defendants’     misrepresentations      and    concealment.     Through      affirmative
  misrepresentations and omissions, Defendants actively concealed from Plaintiff the true risks
  associated with use of Zantac.
           95.    As a result of Defendants’ actions, Plaintiff could not reasonably have known or
  learned through reasonable diligence that Plaintiff had been exposed to the risks alleged herein
  and that those risks were the direct and proximate result of Defendants’ acts and omissions.
           96.    Defendants are estopped from relying on any statute of limitations because of their
  concealment of the truth regarding the safety of Zantac. Defendants had a duty to disclose the true
  character, quality and nature of Zantac because this was non-public information over which
  Defendants continue to have control. Defendants knew that this information was not available to
  Plaintiff, Plaintiff’s medical providers and/or health facilities, yet Defendants failed to disclose the
  information to the public, including Plaintiff.
           97.    Defendants had the ability to and did spend enormous amounts of money in
  furtherance of marketing and promoting a profitable product, notwithstanding the known or
  reasonably knowable risks. Plaintiff and medical professionals could not have afforded to and
  could not have possibly conducted studies to determine the nature, extent, and identity of related
  health risks and were forced to rely on Defendants’ representations.


                                        CAUSES OF ACTION

                       COUNT I: STRICT LIABILITY – DESIGN DEFECT

                                                    20
Case 9:20-cv-80624-RLR Document 1 Entered on FLSD Docket 04/10/2020 Page 21 of 37




          98.     Plaintiff incorporates by reference each allegation set forth in preceding paragraphs
  as if fully stated herein.
          99.     Plaintiff brings this strict liability claim against Defendants for defective design.
          100.    At all relevant times, Defendants engaged in the business of testing, developing,
  designing, manufacturing, marketing, selling, distributing, and promoting Zantac products, which
  are defective and unreasonably dangerous to consumers, including Plaintiff, thereby placing
  Zantac products into the stream of commerce. These actions were under the ultimate control and
  supervision of Defendants. At all relevant times, Defendants designed, researched, developed,
  manufactured, produced, tested, assembled, labeled, advertised, promoted, marketed, sold, and
  distributed the Zantac products used by Plaintiff, as described herein.
          101.    At all relevant times, Defendants’ Zantac products were manufactured, designed,
  and labeled in an unsafe, defective, and inherently dangerous manner that was dangerous for use
  by or exposure to the public, including Plaintiff.
          102.     At all relevant times, Defendants’ Zantac products reached the intended
  consumers, handlers, and users or other persons coming into contact with these products within
  this judicial district and throughout the United States, including Plaintiff, without substantial
  change in their condition as designed, manufactured, sold, distributed, labeled, and marketed by
  Defendants. At all relevant times, Defendants registered, researched, manufactured, distributed,
  marketed and sold Zantac products within this judicial district and aimed at a consumer market
  within this judicial district. Defendants were at all relevant times involved in the retail and
  promotion of Zantac products marketed and sold in this judicial district.
          103.    Defendants’ Zantac products, as researched, tested, developed, designed, licensed,
  manufactured, packaged, labeled, distributed, sold, and marketed by Defendants were defective in
  design and formulation in that, when they left the control of Defendants’ manufacturers and/or
  suppliers, they were unreasonably dangerous and dangerous to an extent beyond that which an
  ordinary consumer would contemplate.
          104.    Defendants’ Zantac products, as researched, tested, developed, designed, licensed,
  manufactured, packaged, labeled, distributed, sold, and marketed by Defendants were defective in
          design and formulation in that, when they left the hands of Defendants’ manufacturers
  and/or suppliers, the foreseeable risks exceeded the alleged benefits associated with their design
  and formulation.

                                                    21
Case 9:20-cv-80624-RLR Document 1 Entered on FLSD Docket 04/10/2020 Page 22 of 37




          105.   At all relevant times, Defendants knew or had reason to know that Zantac products
  were defective and were inherently dangerous and unsafe when used in the manner instructed and
  provided by Defendants.
          106.   Therefore, at all relevant times, Defendants’ Zantac products, as researched, tested,
  developed, designed, registered, licensed, manufactured, packaged, labeled, distributed, sold and
  marketed by Defendants were defective in design and formulation, in one or more of the following
  ways:


          a.     When placed in the stream of commerce, Defendants’ Zantac products were
                 defective in design and formulation, and, consequently, dangerous to an extent
                 beyond that which an ordinary consumer would contemplate;
          b.     When placed in the stream of commerce, Defendants’ Zantac products were
                 unreasonably dangerous in that they were hazardous and posed a grave risk of
                 cancer and other serious illnesses when used in a reasonably anticipated manner;
          c.     When placed in the stream of commerce, Defendants’ Zantac products contained
                 unreasonably dangerous design defects and were not reasonably safe when used in
                 a reasonably anticipated or intended manner;
          d.     Defendants did not sufficiently test, investigate, or study its Zantac products and,
                 specifically, the ability for Zantac to transform into the carcinogenic compound
                 NDMA within the human body;
          e.     Exposure to Zantac products presents a risk of harmful side effects that outweigh
                 any potential utility stemming from the use of the drug;
          f.     Defendants knew or should have known at the time of marketing Zantac products
                 that    exposure to Zantac could result in cancer and other severe illnesses and
                 injuries;
          g.     Defendants did not conduct adequate post-marketing surveillance of its Zantac
                 products; and
          h.     Defendants could have employed safer alternative designs and formulations.



                                                  22
Case 9:20-cv-80624-RLR Document 1 Entered on FLSD Docket 04/10/2020 Page 23 of 37




         107.     Plaintiff used and was exposed to Defendants’ Zantac products without knowledge
  of Zantac’s dangerous characteristics.
         108.    At all times relevant to this litigation, Plaintiff used and/or was exposed to the use
  of Defendants’ Zantac products in an intended or reasonably foreseeable manner without
  knowledge of Zantac’s dangerous characteristics.
         109.    Plaintiff could not reasonably have discovered the defects and risks associated with
  Zantac products before or at the time of exposure due to the Defendants’ suppression or
  obfuscation    of scientific information linking Zantac to cancer.
         110.    The harm caused by Defendants’ Zantac products far outweighed their benefit,
  rendering Defendants’ product dangerous to an extent beyond that which an ordinary consumer
  would contemplate. Defendants’ Zantac products were and are more dangerous than alternative
  products, and Defendants could have designed Zantac products to make them less dangerous.
  Indeed, at the time Defendants designed Zantac products, the state of the industry’s scientific
  knowledge was such that a less risky design or formulation was attainable.
         111.    At the time Zantac products left Defendants’ control, there was a practical,
  technically feasible and safer alternative design that would have prevented the harm without
  substantially impairing the reasonably anticipated or intended function of Defendants’ Zantac
  products. For example, the Defendants could have added ascorbic acid (Vitamin C) to each dose
  of Zantac, which is known to scavenge nitrites and reduce the ability of the body to recombine
  ranitidine into NDMA.22
         112.    Defendants’ defective design of Zantac products was willful, wanton, malicious,
  and conducted with reckless disregard for the health and safety of users of the Zantac products,
  including Plaintiff.




  22
    See, e.g., Vermeer, et al., Effect of ascorbic acid and green tea on endogenous formation of N
  nitrosodimethylamine and N-nitrosopiperidine in humans. 428 MUTAT. RES., FUNDAM. MOL.
  MECH.MUTAGEN. 353–361 (1999); Garland et al., Urinary excretion of nitrosodimethylamine
  andnitrosoproline in humans: Interindividual and intraindividual differences and the effect of
  administered ascorbic acid and α-tocopherol, 46 CANCER RESEARCH 5392–5400 (1986).
                                                  23
Case 9:20-cv-80624-RLR Document 1 Entered on FLSD Docket 04/10/2020 Page 24 of 37




          113.    Therefore, as a result of the unreasonably dangerous condition of their Zantac
  products, Defendants are strictly liable to Plaintiff.
          114.    The defects in Defendants’ Zantac products were substantial and contributing
  factors in causing Plaintiff’s injuries, and, but for Defendants’ misconduct and omissions, Plaintiff
  would not have sustained injuries.
          115.    Defendants’ conduct, as described above, was reckless. Defendants risked the lives
  of consumers and users of its products, including Plaintiff, with knowledge of the safety problems
  associated with Zantac products, and suppressed this knowledge from the general public.
  Defendants made conscious decisions not to redesign, warn or inform the unsuspecting public.
  Defendants reckless conduct warrants an award of punitive damages.
          116.    As a direct and proximate result of Defendants placing its defective Zantac products
  into the stream of commerce, and the resulting injuries, Plaintiff sustained pecuniary loss including
  general damages in a sum which exceeds the jurisdictional minimum of this Court.
          117.    As a proximate result of Defendants placing its defective Zantac products into the
  stream of commerce, as alleged herein, there was a measurable and significant interval of time
  during which Plaintiff has suffered great mental anguish and other personal injury and damages.
          118.    As a proximate result of the Defendants placing its defective Zantac products into
  the stream of commerce, as alleged herein, Plaintiff sustained loss of income and/or loss of earning
  capacity.
          119.     WHEREFORE, Plaintiff respectfully requests this Court to enter judgment in
  Plaintiff’s favor for compensatory and punitive damages, together with interest, costs herein
  incurred, attorneys’ fees and all such other and further relief as this Court deems just and proper.


                     COUNT II: STRICT LIABILITY – FAILURE TO WARN
          120.    Plaintiff incorporates by reference each allegation set forth in preceding paragraphs
  as if fully stated herein.
          121.    Plaintiff brings this strict liability claim against Defendants for failure to warn.
          122.    At all relevant times, Defendants engaged in the business of testing, developing,
  designing, manufacturing, marketing, selling, distributing, and promoting Zantac products which




                                                    24
Case 9:20-cv-80624-RLR Document 1 Entered on FLSD Docket 04/10/2020 Page 25 of 37




  are defective and unreasonably dangerous to consumers, including Plaintiff, because they do not
  contain adequate warnings or instructions concerning the dangerous characteristics of Zantac and
  NDMA. These actions were under the ultimate control and supervision of Defendants. At all
  relevant times, Defendants registered, researched, manufactured, distributed, marketed, and sold
  Zantac and other ranitidine formulations within this judicial district and aimed at a consumer
  market. Defendants were at all relevant times involved in the retail and promotion of Zantac
  products marketed and sold in in this judicial district.
         123.    Defendants researched, developed, designed, tested, manufactured, inspected,
  labeled, distributed, marketed, promoted, sold, and otherwise released into the stream of commerce
  its Zantac products, and in the course of same, directly advertised or marketed the products to
  consumers and end users, including Plaintiff, and therefore had a duty to warn of the risks
  associated with the use of Zantac products.
         124.    At all relevant times, Defendants had a duty to properly test, develop, design,
  manufacture, inspect, package, label, market, promote, sell, distribute, maintain, supply, provide
  proper warnings, and take such steps as necessary to ensure its Zantac products did not cause users
  and consumers to suffer from unreasonable and dangerous risks. Defendants had a continuing duty
  to warn Plaintiff of dangers associated with Zantac. Defendants, as a manufacturer, seller, or
  distributor of pharmaceutical medication, are held to the knowledge of an expert in the field.
         125.    At the time of manufacture, Defendants could have provided the warnings or
  instructions regarding the full and complete risks of Zantac products because they knew or should
  have known of the unreasonable risks of harm associated with the use of and/or exposure to such
  products.
         126.    At all relevant times, Defendants failed and deliberately refused to investigate,
  study, test, or promote the safety or to minimize the dangers to users and consumers of their
  product and to those who would foreseeably use or be harmed by Defendants’ Zantac products,
  including Plaintiff.
         127.    Even though Defendants knew or should have known that Zantac posed a grave
  risk of harm, they failed to exercise reasonable care to warn of the dangerous risks associated with
  use and exposure. The dangerous propensities of their products and the carcinogenic characteristics




                                                    25
Case 9:20-cv-80624-RLR Document 1 Entered on FLSD Docket 04/10/2020 Page 26 of 37




  of NDMA as produced within the human body as a result of ingesting Zantac, as described above,
  were known to Defendants, or scientifically knowable to Defendants through appropriate research
  and testing by known methods, at the time they distributed, supplied or sold the product, and were
  not known to end users and consumers, such as Plaintiff.
         128.    Defendants knew or should have known that their products created significant risks
  of serious bodily harm to consumers, as alleged herein, and Defendants failed to adequately warn
  consumers, i.e., the reasonably foreseeable users, of the risks of exposure to its products.
  Defendants have wrongfully concealed information concerning the dangerous nature of Zantac
  and the potential for ingested Zantac to transform into the carcinogenic NDMA compound, and
  further, have made false and/or misleading statements concerning the safety of Zantac products.
         129.    At all relevant times, Defendants’ Zantac products reached the intended consumers,
  handlers, and users or other persons coming into contact with these products within this judicial
  district and throughout the United States, including Plaintiff, without substantial change in their
  condition as designed, manufactured, sold, distributed, labeled, and marketed by Defendants.
         130.     Plaintiff was exposed to Defendants’ Zantac products without knowledge of their
  dangerous characteristics.
         131.    At all relevant times, Plaintiff used and/or was exposed to the use of Defendants’
  Zantac products while using them for their intended or reasonably foreseeable purposes, without
  knowledge of their dangerous characteristics.
         132.    Plaintiff could not have reasonably discovered the defects and risks associated with
  Zantac products prior to or at the time of Plaintiff consuming Zantac. Plaintiff relied upon the skill,
  superior knowledge, and judgment of Defendants to know about and disclose serious health risks
  associated with using Defendants’ products.
         133.    Defendants knew or should have known that the minimal warnings disseminated
  with their Zantac products were inadequate, failed to communicate adequate information on the
  dangers and safe use/exposure, and failed to communicate warnings and instructions that were
  appropriate and adequate to render the products safe for their ordinary, intended and reasonably
  foreseeable uses.
         134.    The information that Defendants did provide or communicate failed to contain




                                                    26
Case 9:20-cv-80624-RLR Document 1 Entered on FLSD Docket 04/10/2020 Page 27 of 37




  relevant warnings, hazards, and precautions that would have enabled consumers such as Plaintiff
  to utilize the products safely and with adequate protection. Instead, Defendants disseminated
  information that was inaccurate, false and misleading, and which failed to communicate accurately
  or adequately the comparative severity, duration, and extent of the risk of injuries with use of
  and/or exposure to Zantac; continued to aggressively promote the efficacy of its products, even
  after they knew or should have known of the unreasonable risks from use or exposure; and
  concealed, downplayed, or otherwise suppressed, through aggressive marketing and promotion,
  any information or research about the risks and dangers of ingesting Zantac.
            135.   This alleged failure to warn is not limited to the information contained on Zantac’s
  labeling. The Defendants were able, in accord with federal law, to comply with relevant state law
  by disclosing the known risks associated with Zantac through other non-labeling mediums, i.e.,
  promotion, advertisements, public service announcements, and/or public information sources. But
  the Defendants did not disclose these known risks through any medium.
            136.   Defendants are liable to Plaintiff for injuries caused by their negligent or willful
  failure, as described above, to provide adequate warnings or other clinically relevant information
  and data regarding the appropriate use of their products and the risks associated with the use of
  Zantac.
            137.   Had Defendants provided adequate warnings and instructions and properly
  disclosed and disseminated the risks associated with their Zantac products, Plaintiff could have
  avoided the risk of developing injuries and could have obtained or used alternative medication.
            138.   As a direct and proximate result of Defendants placing defective Zantac products
  int the stream of commerce, Plaintiff was injured and has sustained pecuniary loss resulting and
  general damages in a sum exceeding the jurisdictional minimum of this Court.
            139.   As a proximate result of Defendants placing defective Zantac products into the
  stream of commerce, as alleged herein, there was a measurable and significant interval of time
  during which Plaintiff suffered great mental anguish and other personal injury and damages.
            140.   As a proximate result of Defendants placing defective Zantac products into the
  stream
  of commerce, as alleged herein, Plaintiff sustained loss of income and/or loss of earning capacity.
            141.   WHEREFORE, Plaintiff respectfully requests this Court to enter judgment in



                                                    27
Case 9:20-cv-80624-RLR Document 1 Entered on FLSD Docket 04/10/2020 Page 28 of 37




  Plaintiff’s favor for compensatory and punitive damages, together with interest, costs herein
  incurred, attorneys’ fees and all such other and further relief as this Court deems just and proper.


                                     COUNT III: NEGLIGENCE
          142.     Plaintiff incorporates by reference each allegation set forth in preceding paragraphs
  as if fully stated herein.
          143.    Defendants, directly or indirectly, caused Zantac products to be sold, distributed,
  packaged, labeled, marketed, promoted, and/or used by Plaintiff. At all relevant times, Defendants
  registered, researched, manufactured, distributed, marketed and sold Zantac within this judicial
  district and aimed at a consumer market within this district.
          144.    At all relevant times, Defendants had a duty to exercise reasonable care in the
  design, research, manufacture, marketing, advertisement, supply, promotion, packaging, sale, and
  distribution of Zantac products, including the duty to take all reasonable steps necessary to
  manufacture, promote, and/or sell a product that was not unreasonably dangerous to consumers
  and users of the product.
          145.    At all relevant times, Defendants had a duty to exercise reasonable care in the
  marketing, advertisement, and sale of the Zantac products. Defendants’ duty of care owed to
  consumers and the general public included providing accurate, true, and correct information
  concerning the risks of using Zantac and appropriate, complete, and accurate warnings concerning
  the potential adverse effects of Zantac and, in particular, its ability to transform into the
  carcinogenic compound NDMA.
          146.    At all relevant times, Defendants knew or, in the exercise of reasonable care, should
  have known of the hazards and dangers of Zantac and, specifically, the carcinogenic properties of
  NDMA when Zantac is ingested.
          147.    Accordingly, at all relevant times, Defendants knew or, in the exercise of
  reasonable care, should have known that use of Zantac products could cause or be associated with
  Plaintiff’s injuries, and thus, create a dangerous and unreasonable risk of injury to the users of
  these products, including Plaintiff.
          148.    Defendants also knew or, in the exercise of reasonable care, should have known
  that users and consumers of Zantac were unaware of the risks and the magnitude of the risks
  associated with use of Zantac.

                                                    28
Case 9:20-cv-80624-RLR Document 1 Entered on FLSD Docket 04/10/2020 Page 29 of 37




            149.   As such, Defendants breached their duty of reasonable care and failed to exercise
  ordinary care in the design, research, development, manufacture, testing, marketing, supply,
  promotion, advertisement, packaging, sale, and distribution of Zantac products, in that Defendants
  manufactured and produced defective Zantac which carries the potential to transform into the
  carcinogenic compound NDMA; knew or had reason to know of the defects inherent in its
  products; knew or had reason to know that a user’s or consumer’s use of the products created a
  significant risk of harm and unreasonably dangerous side effects; and failed to prevent or
  adequately warn of these risks and injuries. Indeed, Defendants deliberately refused to test Zantac
  products because they knew that the chemical posed serious health risks to humans.
            150.   Defendants were negligent in their promotion of Zantac, outside of the labeling
  context, by failing to disclose material risk information as part of their promotion and marketing
  of Zantac, including the internet, television, print advertisements, etc. Nothing prevented
  Defendants from being honest in their promotional activities, and, in fact, Defendants had a duty
  to disclose the truth about the risks associated with Zantac in their promotional efforts, outside of
  the context of labeling.
            151.   Despite their ability and means to investigate, study, and test the products and to
  provide adequate warnings, Defendants failed to do so. Indeed, Defendants wrongfully concealed
  information and further made false and/or misleading statements concerning the safety and use of
  Zantac.
            152.   Defendants’ negligence included:
            a.     Manufacturing, producing, promoting, formulating, creating, developing,
                   designing, selling, and/or distributing Zantac products without thorough and
                   adequate pre- and post-market testing;
            b.     Manufacturing, producing, promoting, formulating, creating, developing,
                   designing, selling, and/or distributing Zantac while negligently and/or intentionally
                   concealing and failing to disclose the results of trials, tests, and studies of Zantac
                   and the carcinogenic potential of NDMA as created in the human body as a result
                   of ingesting Zantac, and, consequently, the risk of serious harm associated with
                   human use of Zantac;
            c.     Failing to undertake sufficient studies and conduct necessary tests to determine

                                                    29
Case 9:20-cv-80624-RLR Document 1 Entered on FLSD Docket 04/10/2020 Page 30 of 37




              whether or not Zantac products were safe for their intended consumer use;
        d.    Failing to use reasonable and prudent care in the design, research, manufacture,
              and development of Zantac products so as to avoid the risk of serious harm
              associated with the prevalent use of Zantac products;
        e.    Failing to design and manufacture Zantac products so as to ensure they were at least
              as safe and effective as other medications on the market intended to treat the same
              symptoms;
        f.    Failing to provide adequate instructions, guidelines, and safety precautions to those
              persons Defendants could reasonably foresee would use Zantac products;
        g.    Failing to disclose to Plaintiff, users/consumers, and the general public that use of
              Zantac presented severe risks of cancer and other grave illnesses;
        h.    Failing to warn Plaintiff, consumers, and the general public that the product’s risk
              of harm was unreasonable and that there were safer and effective alternative
              medications available to Plaintiff and other consumers;
        i.    Systematically suppressing or downplaying contrary evidence about the risks,
              incidence, and prevalence of the side effects of Zantac products;
        j.    Representing that their Zantac products were safe for their intended use when, in
              fact, Defendants knew or should have known the products were not safe for their
              intended purpose;
        k.    Declining to make or propose any changes to Zantac products’ labeling or other
              promotional materials that would alert consumers and the general public of the risks
              of Zantac;
        l.    Advertising, marketing, and recommending the use of the Zantac products, while
              concealing and failing to disclose or warn of the dangers known (by Defendants) to
              be associated with or caused by the use of or exposure to Zantac;
        m.    Continuing to disseminate information to its consumers, which indicate or imply
              that Defendants’ Zantac products are not unsafe for regular consumer use; and
        n.    Continuing the manufacture and sale of their products with the knowledge that the
              products were unreasonably unsafe and dangerous.




                                               30
Case 9:20-cv-80624-RLR Document 1 Entered on FLSD Docket 04/10/2020 Page 31 of 37




         153.     Defendants knew and/or should have known that it was foreseeable consumers
                 such as Plaintiff would suffer injuries as a result of Defendants’ failure to exercise
                 ordinary care in the manufacturing, marketing, labeling, distribution, and sale of
                 Zantac.
         154.    Plaintiff did not know the nature and extent of the injuries that could result from
                 the intended use of and/or exposure to Zantac.
         155.    Defendants’ negligence was the proximate cause of Plaintiff’s injuries, i.e., absent
                 Defendants’ negligence, Plaintiff would not have developed cancer.
         156.    Defendants’ conduct, as described above, was reckless. Defendants regularly risked
  the lives of consumers and users of their products, including Plaintiff, with full knowledge of the
  dangers of their products. Defendants have made conscious decisions not to redesign, re-label,
  warn, or inform the unsuspecting public, including Plaintiff. Defendants’ reckless conduct
  therefore warrants an award of punitive damages.
         157.    As a direct and proximate result of Defendants placing defective Zantac products
  into the stream of commerce, Plaintiff was injured and has sustained pecuniary loss and general
  damages in a sum exceeding the jurisdictional minimum of this Court.
         158.    As a proximate result of Defendants placing defective Zantac products into the
  stream of commerce, as alleged herein, there was a measurable and significant interval of time
  during which Plaintiff suffered great mental anguish and other personal injury and damages.
         159.    As a proximate result of Defendants placing defective Zantac products into the
  stream of commerce, as alleged herein, Plaintiff sustained a loss of income, and loss of earning
  capacity.
         160.    WHEREFORE, Plaintiff respectfully requests this Court to enter judgment in
  Plaintiff’s favor for compensatory and punitive damages, together with interest, costs herein
  incurred, attorneys’ fees and all such other and further relief as this Court deems just and proper.




                                                   31
Case 9:20-cv-80624-RLR Document 1 Entered on FLSD Docket 04/10/2020 Page 32 of 37




                       COUNT IV: BREACH OF EXPRESS WARRANTIES
          161.    Plaintiff incorporates by reference each allegation set forth in preceding paragraphs
  as if fully stated herein.
          162.    At all relevant times, Defendants engaged in the business of testing, developing,
  designing, manufacturing, marketing, selling, distributing, and promoting Zantac products, which
  are defective and unreasonably dangerous to consumers, including Plaintiff, thereby placing
  Zantac products into the stream of commerce. These actions were under the ultimate control and
  supervision of Defendants.
          163.    Defendants had a duty to exercise reasonable care in the research, development,
  design, testing, packaging, manufacture, inspection, labeling, distributing, marketing, promotion,
  sale, and release of Zantac products, including a duty to:
          a.      ensure that its products did not cause the user unreasonably dangerous side effects;
          b.      warn of dangerous and potentially fatal side effects; and
          c.      disclose adverse material facts, such as the true risks associated with the use of and
                  exposure to Zantac, when making representations to consumers and the general
                  public, including Plaintiff.
          164.     As alleged throughout this pleading, the ability of Defendants to properly disclose
  those risks associated with Zantac is not limited to representations made on the labeling.
          165.    At all relevant times, Defendants expressly represented and warranted to the
  purchasers of its products, by and through statements made by Defendants in labels, publications,
  package inserts, and other written materials intended for consumers and the general public, that
  Zantac products were safe to human health and the environment, effective, fit, and proper for their
  intended use. Defendants advertised, labeled, marketed, and promoted Zantac products,
  representing the quality to consumers and the public in such a way as to induce their purchase or
  use, thereby making an express warranty that Zantac products would conform to the
  representations.
          166.    These express representations include incomplete warnings and instructions that
  purport, but fail, to include the complete array of risks associated with use of and/or exposure to
  Zantac. Defendants knew and/or should have known that the risks expressly included in Zantac

                                                   32
Case 9:20-cv-80624-RLR Document 1 Entered on FLSD Docket 04/10/2020 Page 33 of 37




  warnings and labels did not and do not accurately or adequately set forth the risks of developing
  the serious injuries complained of herein. Nevertheless, Defendants expressly represented that
  Zantac products were safe and effective, that they were safe and effective for use by individuals
  such as the Plaintiff, and/or that they were safe and effective as consumer medication.
         167.    The representations about Zantac, as set forth herein, contained or constituted
  affirmations of fact or promises made by the seller to the buyer, which related to the goods and
  became part of the basis of the bargain, creating an express warranty that the goods would conform
  to the representations.
         168.    Defendants placed Zantac products into the stream of commerce for sale and
  recommended their use to consumers and the public without adequately warning of the true risks
  of developing the injuries associated with the use of Zantac.
         169.     Defendants breached these warranties because, among other things, Zantac
  products were defective, dangerous, and unfit for use, did not contain labels representing the true
  and adequate nature of the risks associated with their use, and were not merchantable or safe for
  their intended, ordinary, and foreseeable use and purpose. Specifically, Defendants breached the
  warranties in the following ways:
         a.      Defendants represented through its labeling, advertising, and marketing materials
                 that Zantac products were safe, and intentionally withheld and concealed
                 information about the risks of serious injury associated with use of Zantac and by
                 expressly limiting the risks associated with use within its warnings and labels; and
         b.      Defendants represented that Zantac products were safe for use and intentionally
                 concealed information that demonstrated that Zantac, by transforming into NDMA
                 upon human ingestion, had carcinogenic properties, and that Zantac products,
                 therefore, were not safer than alternatives available on the market.
         170.     Plaintiff detrimentally relied on the express warranties and representations of
  Defendants concerning the safety and/or risk profile of Zantac in deciding to purchase the product.
  Plaintiff reasonably relied upon Defendants to disclose known defects, risks, dangers, and side
  effects of Zantac. Plaintiff would not have purchased or used Zantac had Defendants properly



                                                  33
Case 9:20-cv-80624-RLR Document 1 Entered on FLSD Docket 04/10/2020 Page 34 of 37




  disclosed the risks associated with the product, either through advertising, labeling, or any other
  form of disclosure.


         171.     Defendants had sole access to material facts concerning the nature of the risks
  associated with its Zantac products, as expressly stated within their warnings and labels, and knew
  that consumers and users such as Plaintiff could not have reasonably discovered that the risks
  expressly included in Zantac warnings and labels were inadequate and inaccurate.
         172.    Plaintiff had no knowledge of the falsity or incompleteness of Defendants’
  statements and representations concerning Zantac.
         173.     Plaintiff used and/or was exposed to Zantac as researched, developed, designed,
  tested, manufactured, inspected, labeled, distributed, packaged, marketed, promoted, sold, or
  otherwise released into the stream of commerce by Defendants.
         174.    Had the warnings, labels, advertisements, or promotional material for Zantac
  products accurately and adequately set forth the true risks associated with the use of such products,
  including Plaintiff’s injuries, rather than expressly excluding such information and warranting that
  the products were safe for their intended use, Plaintiff could have avoided the injuries complained
  of herein.
         175.    As a direct and proximate result of Defendants’ breach of express warranty,
  Plaintiff has sustained pecuniary loss and general damages in a sum exceeding the jurisdictional
  minimum of this Court.
         176.    As a proximate result of Defendants’ breach of express warranty, as alleged herein,
  there was a measurable and significant interval of time during which Plaintiff suffered great mental
  anguish and other personal injury and damages.
         177.    As a proximate result of Defendants’ breach of express warranty, as alleged herein,
  Plaintiff sustained a loss of income and/or loss of earning capacity.
         178.    WHEREFORE, Plaintiff respectfully requests this Court to enter judgment in
  Plaintiff’s favor for compensatory and punitive damages, together with interest, costs herein
  incurred, attorneys’ fees, and all such other and further relief as this Court deems just and proper.


                        COUNT V: BREACH OF IMPLIED WARRANTIES



                                                   34
Case 9:20-cv-80624-RLR Document 1 Entered on FLSD Docket 04/10/2020 Page 35 of 37




          179.    Plaintiff incorporates by reference every allegation set forth in preceding
  paragraphs as if fully stated herein.
          180.    At all relevant times, Defendants engaged in the business of testing, developing,
  designing, manufacturing, marketing, selling, distributing, and promoting Zantac products, which
  were and are defective and unreasonably dangerous to consumers, including Plaintiff, thereby
  placing Zantac products into the stream of commerce.
          181.    Before the time Plaintiff used Zantac products, Defendants impliedly warranted to
  its consumers, including Plaintiff, that Zantac products were of merchantable quality and safe and
  fit for the use for which they were intended; specifically, as consumer medication.
          182.    But Defendants failed to disclose that Zantac has dangerous propensities when used
  as intended and that use of Zantac products carries an increased risk of developing severe injuries,
  including Plaintiff’s injuries.
          183.    Plaintiff was an intended beneficiary of the implied warranties made by Defendants
  to purchasers of its Zantac products.
          184.    The Zantac products were expected to reach and did in fact reach consumers and
  users, including Plaintiff, without substantial change in the condition in which they were
  manufactured and sold by Defendants.
          185.    At all relevant times, Defendants were aware that consumers and users of its
  products, including Plaintiff, would use Zantac products as marketed by Defendants, which is to
  say that Plaintiff was a foreseeable user of Zantac.
          186.    Defendants intended that Zantac products be used in the manner in which Plaintiff,
  in fact, used them and which Defendants impliedly warranted to be of merchantable quality, safe,
  and fit for this use, even though Zantac was not adequately tested or researched.
          187.    In reliance upon Defendants’ implied warranty, Plaintiff used Zantac as instructed
  and labeled and in the foreseeable manner intended, recommended, promoted, and marketed by
  Defendants.
          188.    Plaintiff could not have reasonably discovered or known of the risks of serious
  injury associated with Zantac.
          189.    Defendants breached their implied warranty to Plaintiff in that Zantac products
  were not of merchantable quality, safe, or fit for their intended use, or adequately tested. Zantac
  has

                                                   35
Case 9:20-cv-80624-RLR Document 1 Entered on FLSD Docket 04/10/2020 Page 36 of 37




  dangerous propensities when used as intended and can cause serious injuries, including those
  injuries complained of herein.
         190.    The harm caused by Defendants’ Zantac products far outweighed their benefit,
  rendering the products more dangerous than an ordinary consumer or user would expect and more
  dangerous than alternative products.
         191.    As a direct and proximate result of Defendants’ breach of implied warranty,
  Plaintiff has sustained pecuniary loss and general damages in a sum exceeding the jurisdictional
  minimum of this Court.
         192.    As a proximate result of the Defendants’ breach of implied warranty, as alleged
  herein, there was a measurable and significant interval of time during which Plaintiff suffered great
  mental anguish and other personal injury and damages.
         193.    As a proximate result of Defendants’ breach of implied warranty, as alleged herein,
  Plaintiff sustained a loss of income and/or loss of earning capacity.
         194.    WHEREFORE, Plaintiff respectfully requests this Court to enter judgment in
  Plaintiff’s favor for compensatory and punitive damages, together with interest, costs herein
  incurred, attorneys’ fees and all such other and further relief as this Court deems just and proper.


                                      JURY TRIAL DEMAND
         195.    Plaintiff demands a trial by jury on all the triable issues within this pleading.


                                      PRAYER FOR RELIEF
         196.    WHEREFORE, Plaintiff requests the Court to enter judgment in Plaintiff’s favor
  and against the Defendants for:
         a.      actual or compensatory damages in such amount to be determined at trial and as
                 provided by applicable law;
         b.      exemplary and punitive damages sufficient to punish and deter the Defendants and
                 others from future wrongful practices;
         c.      pre-judgment and post-judgment interest;



                                                   36
Case 9:20-cv-80624-RLR Document 1 Entered on FLSD Docket 04/10/2020 Page 37 of 37




        d.     costs including reasonable attorneys’ fees, court costs, and other litigation
               expenses;
        e.     any other relief the Court may deem just and proper.


        Dated: April 10, 2020


                                             Respectfully submitted,

                                             /s/ Christopher LoPalo
                                             Christopher LoPalo
                                             NAPOLI SHKOLNIK, PLLC
                                             360 Lexington Avenue, Suite 1101
                                             New York, NY 10017
                                             Tel: (212) 397-0000
                                             Fax: (646) 843-7603
                                             CLoPalo@napolilaw.com
                                             Attorneys for Plaintiff




                                               37
